  Case 3:14-cv-01893-PGS-TJB Document 49 Filed 10/23/15 Page 1 of 1 PageID: 536




                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


     W.P.,                                                 Civil Action No. 3:14-cv-1893 (PGS)(TJB)

                        Plaintiffs,

              v.
                                                                            ORDER
     PRFNCETON UNIVERSITY, et al.

                        Defendants.



        Having carefully reviewed and taken into consideration the submissions of Plaintiff W.P. and

Defendants, which include Princeton University, as well as Cynthia Cherrey, Cole Crittenden,

Kathleen Deignan, John Kolligian, Anita McLean, Michael Olin, and Shirley Tilghman (“named

individual Defendants), for the reasons stated on the record, and for good cause shown,

        IT IS on this 23’ day of October, 2015,

        ORDERED that Defendants’ Partial Motion to Dismiss (ECF No. 21) is GRANTED as to

W.P.’s Rehabilitation Act and Americans with Disabilities Act claims against the named individual

Defendants, W.P’s fraud claims, and all of his claims against President Tilghman; and it is further

       ORDERED that Defendants’ Partial Motion to Dismiss is DENIED as to the intentional

infliction of emotional distress claims against all Defendants except President Tilghman, and the

breach of contract and good faith and fair dealing claims; and it is therefore

       ORDERED that President Tilghman is dismissed from the action.




                                                      PETER G. SHERIDAN, U.S.I).J.
